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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

YOLANDA MCDOW, ID # 37471-177,                   )
            Movant,                              )
vs.                                              )           No. 3:08-CR-0167-B (7)
                                                 )
UNITED STATES OF AMERICA,                        )
               Respondent.                       )           Referred to U.S. Magistrate Judge

              ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE

       After reviewing all relevant matters of record in this case, including the Findings, Conclu-

sions, and Recommendation of the United States Magistrate Judge, in accordance with 28 U.S.C.

§ 636(b)(1), the undersigned District Judge is of the opinion that the Findings and Conclusions of

the Magistrate Judge are correct and they are accepted as the Findings and Conclusions of the Court.

       For the reasons stated in the Findings, Conclusions, and Recommendation of the United

States Magistrate Judge, the Court hereby DENIES the defendant’s motion to reduce her sentence

(doc. 597).

       In the event that the defendant files a notice of appeal, she must pay the $505.00 appellate

filing fee or submit a motion to proceed in forma pauperis that is accompanied by a properly signed

certificate of inmate trust account.

       SO ORDERED.

       DATED: OCTOBER 6, 2015




                                              _________________________________
                                              JANE J. BOYLE
                                              UNITED STATES DISTRICT JUDGE
